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 14
                                      UNITED STATES DISTRICT COURT
 15

 16                                  CENTRAL DISTRICT OF CALIFORNIA

 17   ATLANTIC REPRESENTATIONS, INC.,                     Case No. 2:20-cv-11146 SB (SK)
      A CALIFORNIA CORPORATION ,
 18                                                       STIPULATED PROTECTIVE ORDER
                        Plaintiff,
 19
              v.
 20
      ATLANTIC FURNITURE, INC., A
 21   MASSACHUSETTS CORPORATION; AND
      MARK S. VALONE,
 22
                        Defendants.
 23

 24   ATLANTIC FURNITURE, INC. A
      MASSACHUSETTS CORPORATION,
 25

 26                         Counterclaim Plaintiff
              v.
 27
      ATLANTIC REPRESENTATIONS, INC., A
 28
      CALIFORNIA CORPORATION; AND LEO


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  1   DARDASHTI,
  2                          Counterclaim Defendants
  3

  4

  5   1.      PURPOSES AND LIMITATIONS

  6
              Discovery in this action is likely to involve production of confidential, proprietary, or
  7
      private information for which special protection from public disclosure and from use for any
  8

  9   purpose other than prosecuting this litigation may be warranted. Accordingly, the parties hereby

 10   stipulate to and petition the Court to enter the following Stipulated Protective Order. The parties

 11   acknowledge that this Order does not confer blanket protections on all disclosures or responses to
 12
      discovery and that the protection it affords from public disclosure and use extends only to the
 13
      limited information or items that are entitled to confidential treatment under the applicable legal
 14
      principles. The parties further acknowledge, as set forth in Section 12.3, below, that this Stipulated
 15
      Protective Order does not entitle them to file confidential information under seal; Civil Local Rule
 16

 17   79-5 sets forth the procedures that must be followed and the standards that will be applied when a

 18   party seeks permission from the court to file material under seal.
 19
              A.     GOOD CAUSE STATEMENT
 20

 21
              The parties are competitors. This action is likely to involve trade secrets, customer and
 22
      pricing lists, accounting records, corporate records, and other valuable research, development,
 23
      commercial, financial, technical, and/or proprietary information for which special protection from
 24

 25   public disclosure and from use for any purpose other than prosecution of this action is warranted.

 26   Such confidential and proprietary materials and information consist of, among other things,

 27   confidential business or financial information, information regarding confidential business
 28
                                                        2
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  1   practices, or other confidential research, development, or commercial information (including
  2   information implicating privacy rights of third parties), information otherwise generally
  3
      unavailable to the public, or which may be privileged or otherwise protected from disclosure under
  4
      state or federal statutes, court rules, case decisions, or common law. Accordingly, to expedite the
  5
      flow of information, to facilitate the prompt resolution of disputes over confidentiality of discovery
  6

  7   materials, to adequately protect information the parties are entitled to keep confidential, to ensure

  8   that the parties are permitted reasonable necessary uses of such material in preparation for and in

  9   the conduct of trial, to address their handling at the end of the litigation, and serve the ends of
 10
      justice, a protective order for such information is justified in this matter. It is the intent of the parties
 11
      that information will not be designated as confidential for tactical reasons and that nothing be so
 12
      designated without a good faith belief that it has been maintained in a confidential, non-public
 13
      manner, and there is good cause why it should not be part of the public record of this case.
 14

 15
      2.      DEFINITIONS
 16
              2.1     Action: The pending lawsuit Atlantic Representations, Inc. v. Atlantic Furniture,
 17
      Inc. et al, No. 2:20-cv-11146-SB-SK (C.D.Cal.).
 18

 19           2.2     Challenging Party: a Party or Non-Party that challenges the designation of

 20   information or items under this Order.

 21           2.3     “CONFIDENTIAL” Information or Items: information (regardless of how it is
 22
      generated, stored or maintained) or tangible things that qualify for protection under Federal Rule
 23
      of Civil Procedure 26(c), and as specified above in the Good Cause Statement.
 24
              2.4     “HIGHLY CONFIDENTIAL” Information or Items: Particularly sensitive
 25
      information, including financial information or competitively valuable information of the
 26

 27   Disclosing Party, the disclosure of which would create a substantial risk of serious harm to the

 28   Disclosing Party.
                                                           3
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  1             2.5    Counsel: Outside Counsel of Record and House Counsel (as well as their support
  2   staff).
  3
                2.6    Designating Party: a Party or Non-Party that designates information or items that it
  4
      produces in disclosures or in responses to discovery as “CONFIDENTIAL” or “HIGHLY
  5
      CONFIDENTIAL.”
  6

  7             2.7    Disclosure or Discovery Material: all items or information, regardless of the

  8   medium or manner in which it is generated, stored, or maintained (including, among other things,

  9   testimony, transcripts, and tangible things), that are produced or generated in disclosures or
 10
      responses to discovery in this matter.
 11
                2.8    Expert: a person with specialized knowledge or experience in a matter pertinent to
 12
      the litigation who has been retained by a Party or its counsel to serve as an expert witness or as a
 13
      consultant in this Action.
 14

 15             2.9    House Counsel: attorneys who are employees of a party to this Action. House

 16   Counsel does not include Outside Counsel of Record or any other outside counsel.
 17             2.10   Non-Party: any natural person, partnership, corporation, association, or other legal
 18
      entity not named as a Party to this action.
 19
                2.11   Outside Counsel of Record: attorneys who are not employees of a party to this
 20
      Action but are retained to represent or advise a party to this Action and have appeared in this Action
 21

 22   on behalf of that party or are affiliated with a law firm which has appeared on behalf of that party,

 23   and includes support staff.

 24             2.12   Party: any party to this Action, including all of its officers, directors, employees,
 25   consultants, retained experts, and Outside Counsel of Record (and their support staffs).
 26
                2.13   Producing Party: a Party or Non-Party that produces Disclosure or Discovery
 27
      Material in this Action.
 28
                                                         4
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  1           2.14   Professional Vendors: persons or entities that provide litigation support services
  2   (e.g., photocopying, videotaping, translating, preparing exhibits or demonstrations, and organizing,
  3
      storing, or retrieving data in any form or medium) and their employees and subcontractors.
  4
              2.15   Protected Material: any Disclosure or Discovery Material that is designated as
  5
      “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL.”
  6

  7           2.16   Receiving Party: a Party that receives Disclosure or Discovery Material from a

  8   Producing Party.

  9
      3.      SCOPE
 10

 11           The protections conferred by this Stipulation and Order cover not only Protected Material

 12   (as defined above), but also (1) any information copied or extracted from Protected Material; (2)

 13   all copies, excerpts, summaries, or compilations of Protected Material; and (3) any testimony,
 14   conversations, or presentations by Parties or their Counsel that might reveal Protected Material.
 15
              Any use of Protected Material at trial shall be governed by the orders of the trial judge. This
 16
      Order does not govern the use of Protected Material at trial.
 17

 18   4.      DURATION
 19
              Even after final disposition of this litigation, the confidentiality obligations imposed by this
 20
      Order shall remain in effect until a Designating Party agrees otherwise in writing or a court order
 21
      otherwise directs. Final disposition shall be deemed to be the later of (1) dismissal of all claims and
 22

 23   defenses in this Action, with or without prejudice; and (2) final judgment herein-after the

 24   completion and exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,

 25   including the time limits for filing any motions or applications for extension of time pursuant to
 26   applicable law.
 27

 28
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  1   5.      DESIGNATING PROTECTED MATERIAL
  2           5.1    Exercise of Restraint and Care in Designating Material for Protection. Each Party
  3
      or Non-Party that designates information or items for protection under this Order must take care to
  4
      limit any such designation to specific material that qualifies under the appropriate standards. The
  5
      Designating Party must designate for protection only those parts of material, documents, items, or
  6

  7   oral or written communications that qualify so that other portions of the material, documents, items,

  8   or communications for which protection is not warranted are not swept unjustifiably within the

  9   ambit of this Order.
 10
              Mass, indiscriminate, or routinized designations are prohibited. Designations that are shown
 11
      to be clearly unjustified or that have been made for an improper purpose (e.g., to unnecessarily
 12
      encumber the case development process or to impose unnecessary expenses and burdens on other
 13
      parties) may expose the Designating Party to sanctions.
 14

 15           If it comes to a Designating Party’s attention that information or items that it designated for

 16   protection do not qualify for protection, that Designating Party must promptly notify all other
 17   Parties that it is withdrawing the inapplicable designation.
 18
              5.2    Manner and Timing of Designations. Except as otherwise provided in this Order
 19
      (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or ordered,
 20
      Disclosure or Discovery Material that qualifies for protection under this Order must be clearly so
 21

 22   designated before the material is disclosed or produced.

 23           Designation in conformity with this Order requires:

 24           (a)    for information in documentary form (e.g., paper or electronic documents, but
 25   excluding transcripts of depositions or other pretrial or trial proceedings), that the Producing Party
 26
      affix at a minimum, the legend “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”) or
 27
      “HIGHLY CONFIDENTIAL” (hereinafter “HIGHLY CONFIDENTIAL legend”), to each page
 28
                                                        6
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  1   that contains protected material. If only a portion or portions of the material on a page qualifies for
  2   protection, the Producing Party also must clearly identify the protected portion(s) (e.g., by making
  3
      appropriate markings in the margins).
  4
              A Party or Non-Party that makes original documents available for inspection need not
  5
      designate them for protection until after the inspecting Party has indicated which documents it
  6

  7   would like copied and produced. During the inspection and before the designation, all of the

  8   material made available for inspection shall be deemed “HIGHLY CONFIDENTIAL.” After the

  9   inspecting Party has identified the documents it wants copied and produced, the Producing Party
 10
      must determine which documents, or portions thereof, qualify for protection under this Order. Then,
 11
      before producing the specified documents, the Producing Party must affix the “CONFIDENTIAL”
 12
      or “HIGHLY CONFIDENTIAL” legend to each page that contains Protected Material. If only a
 13
      portion or portions of the material on a page qualifies for protection, the Producing Party also must
 14

 15   clearly identify the protected portion(s) (e.g., by making appropriate markings in the margins).

 16           (b)    for testimony given in depositions that the Designating Party identify the Disclosure
 17   or Discovery Material on the record, before the close of the deposition all protected testimony.
 18
      When it is impractical to identify separately each portion of testimony that is entitled to protection,
 19
      and when it appears that substantial portions of the testimony may qualify for protection, the Party
 20
      or Nonparty that sponsors, offers, or gives the testimony or that claims confidentiality may invoke
 21

 22   on the record (before the deposition is concluded) a right to have up to 20 days to identify the

 23   specific portions of the testimony as to which protection is sought and to specify the level of

 24   protection being asserted (“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL”). Only those
 25   portions that are appropriately designated for protection within the 20 days shall be covered by the
 26
      provisions of this Stipulated Protective Order.
 27

 28
                                                        7
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  1           (c)    for information produced in some form other than documentary and for any other
  2   tangible items, that the Producing Party affix in a prominent place on the exterior of the container
  3
      or containers in which the information is stored the legend “CONFIDENTIAL” or “HIGHLY
  4
      CONFIDENTIAL.” If only a portion or portions of the information warrants protection, the
  5
      Producing Party, to the extent practicable, shall identify the protected portion(s).
  6

  7           5.3    Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to

  8   designate qualified information or items does not, standing alone, waive the Designating Party’s

  9   right to secure protection under this Order for such material. Upon timely correction of a
 10
      designation, the Receiving Party must make reasonable efforts to assure that the material is treated
 11
      in accordance with the provisions of this Order.
 12
              5.4    Designation as “HIGHLY CONFIDENTIAL”. Any party may designate
 13
      information as “HIGHLY CONFIDENTIAL” only if, in the good faith belief of such party and its
 14

 15   counsel, the information is among that considered to be most sensitive by the party, including but

 16   not limited to trade secrets, pricing information, financial data, sales information, sales or marketing
 17   forecasts or plans, sales or marketing strategy, customer lists and information, product development
 18
      information, technical documents, employee information, and other non-public information of
 19
      similar competitive and business sensitivity.
 20

 21   6.      CHALLENGING CONFIDENTIALITY DESIGNATIONS
 22
              6.1    Timing of Challenges. Any Party or Non-Party may challenge a designation of
 23
      confidentiality at any time that is consistent with the Court’s Scheduling Order.
 24
              6.2    Meet and Confer. The Challenging Party shall initiate the dispute resolution process
 25
      under Local Rule 37.1 et seq.
 26

 27           6.3    The burden of persuasion in any such challenge proceeding shall be on the

 28   Designating Party. Frivolous challenges, and those made for an improper purpose (e.g., to harass
                                                     8
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  1   or impose unnecessary expenses and burdens on other parties) may expose the Challenging Party
  2   to sanctions. Unless the Designating Party has waived or withdrawn the confidentiality designation,
  3
      all parties shall continue to afford the material in question the level of protection to which it is
  4
      entitled under the Producing Party’s designation until the Court rules on the challenge.
  5

  6   7.      ACCESS TO AND USE OF PROTECTED MATERIAL
  7
              7.1    Basic Principles. A Receiving Party may use Protected Material that is disclosed or
  8
      produced by another Party or by a Non-Party in connection with this Action only for prosecuting,
  9
      defending, or attempting to settle this Action. Such Protected Material may be disclosed only to the
 10

 11   categories of persons and under the conditions described in this Order. When the Action has been

 12   terminated, a Receiving Party must comply with the provisions of section 13 below (FINAL

 13   DISPOSITION).
 14           Protected Material must be stored and maintained by a Receiving Party at a location and in
 15
      a secure manner that ensures that access is limited to the persons authorized under this Order.
 16
              7.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise ordered
 17
      by the court or permitted in writing by the Designating Party, a Receiving Party may disclose any
 18

 19   information or item designated “CONFIDENTIAL” only to:

 20           (a)    the Receiving Party’s Outside Counsel of Record in this Action, as well as

 21   employees of said Outside Counsel of Record to whom it is reasonably necessary to disclose the
 22
      information for this Action;
 23
              (b)    the officers, directors, and employees (including House Counsel) of the Receiving
 24
      Party to whom disclosure is reasonably necessary for this Action;
 25
              (c)    Experts (as defined in this Order) of the Receiving Party to whom disclosure is
 26

 27   reasonably necessary for this Action and who have signed the “Acknowledgment and Agreement

 28   to Be Bound” (Exhibit A);
                                                       9
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   1           (d)    the court and its personnel;
   2           (e)    court reporters and their staff;
   3
               (f)    professional jury or trial consultants, mock jurors, and Professional Vendors to
   4
       whom disclosure is reasonably necessary for this Action and who have signed the
   5
       “Acknowledgment and Agreement to Be Bound” (Exhibit A);
   6

   7           (g)    the author or recipient of a document containing the information or a custodian or

   8   other person who otherwise possessed or knew the information;

   9           (h)    during their depositions, witnesses, and attorneys for witnesses, in the Action to
  10
       whom disclosure is reasonably necessary provided: (1) the deposing party requests that the witness
  11
       sign the form attached as Exhibit A hereto; and (2) they will not be permitted to keep any
  12
       confidential information unless they sign the “Acknowledgment and Agreement to Be Bound”
  13
       (Exhibit A), unless otherwise agreed by the Designating Party or ordered by the court. Pages of
  14

  15   transcribed deposition testimony or exhibits to depositions that reveal Protected Material may be

  16   separately bound by the court reporter and may not be disclosed to anyone except as permitted
  17   under this Stipulated Protective Order; and
  18
                (i)   any mediator or settlement officer, and their supporting personnel, mutually agreed
  19
       upon by any of the parties engaged in settlement discussions.
  20
                7.3   Disclosure of “HIGHLY CONFIDENTIAL” Information or Items. A Receiving
  21

  22   Party may disclose any information or item designated “HIGHLY CONFIDENTIAL” only to:

  23           (a)    the Receiving Party’s Outside Counsel of Record in this Action, as well as

  24   employees of said Outside Counsel of Record to whom it is reasonably necessary to disclose the
  25   information for this Action;
  26
               (b)    Experts (as defined in this Order) of the Receiving Party to whom disclosure is
  27
       reasonably necessary for this Action and who have signed the “Acknowledgment and Agreement
  28
                                                         10
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   1   to Be Bound” (Exhibit A); provided, however, that before a Receiving Party may disclose, directly
   2   or indirectly, any information designated “HIGHLY CONFIDENTIAL,” the Receiving Party must
   3
       email written notice to the Designating Party’s outside counsel of record the following information
   4
       regarding such Expert or consultant: (i) an Executed Exhibit A; (ii) confirmation that the Expert or
   5
       consultant has been advised in writing that his or her disclosure of information designated
   6

   7   “HIGHLY CONFIDENTIAL” to the Receiving Party is prohibited; and (iii) the outside Expert or

   8   consultant’s current curriculum vitae or other description setting forth the person’s name, office

   9   address, present employer with job title and job description, any relationship to any of the Parties,
  10
       and a brief job history for the past five years. Further, the Party seeking to disclose Protected
  11
       Material shall provide such other information regarding the Expert’s professional activities
  12
       reasonably requested by the Designating Party for it to evaluate whether good cause exists to object
  13
       to the disclosure of Protected Material to the Expert.
  14

  15           Within three (3) business days of receipt of the disclosure of the Expert, the Designating

  16   Party may object in writing to the Expert for good cause. In the absence of an objection at the end
  17   of the three (3) business day period, the Expert shall be deemed approved under this Protective
  18
       Order. There shall be no disclosure of Protected Material to the Expert prior to expiration of this
  19
       three (3) day period. If the Designating Party objects to disclosure to the Expert within such three
  20
       (3) business day period, the Parties shall meet and confer via telephone or in person within three
  21

  22   (3) business days following the objection and attempt in good faith to resolve the dispute on an

  23   informal basis. If the dispute is not resolved, the Party objecting to the disclosure will have five

  24   (5) days from the date of the meet and confer to seek relief from the Court. If relief is not sought
  25   from the Court within that time, the objection shall be deemed withdrawn. If relief is sought,
  26
       Protected Materials shall not be disclosed to the Person in question until the Court resolves the
  27
       objection;
  28
                                                        11
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   1           (c)    the court and its personnel;
   2           (d)    court reporters and their staff;
   3
               (e)    professional jury or trial consultants, mock jurors, and Professional Vendors to
   4
       whom disclosure is reasonably necessary for this Action and who have signed the
   5
       “Acknowledgment and Agreement to Be Bound” (Exhibit A);
   6

   7           (f)    the author or recipient of a document containing the information or a custodian or

   8   other person who otherwise possessed or knew the information;

   9           (g)    during their depositions, witnesses, and attorneys for witnesses, in the Action to
  10
       whom disclosure is reasonably necessary provided: (1) the deposing party requests that the witness
  11
       sign the form attached as Exhibit A hereto; and (2) they will not be permitted to keep any
  12
       confidential information unless they sign the “Acknowledgment and Agreement to Be Bound”
  13
       (Exhibit A), unless otherwise agreed by the Designating Party or ordered by the court. Pages of
  14

  15   transcribed deposition testimony or exhibits to depositions that reveal Protected Material may be

  16   separately bound by the court reporter and may not be disclosed to anyone except as permitted
  17   under this Stipulated Protective Order; and
  18
                (h)   any mediator or settlement officer, and their supporting personnel, mutually agreed
  19
       upon by any of the parties engaged in settlement discussions.
  20

  21   8.       PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER
  22
       LITIGATION
  23
               If a Party is served with a subpoena or a court order issued in other litigation that compels
  24
       disclosure of any information or items designated in this Action as “CONFIDENTIAL” or
  25
       “HIGHLY CONFIDENTIAL,” that Party must:
  26

  27           (a)    promptly notify in writing the Designating Party. Such notification shall include a

  28   copy of the subpoena or court order;
                                                         12
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   1           (b)    promptly notify in writing the party who caused the subpoena or order to issue in
   2   the other litigation that some or all of the material covered by the subpoena or order is subject to
   3
       this Protective Order. Such notification shall include a copy of this Stipulated Protective Order; and
   4
               (c)    cooperate with respect to all reasonable procedures sought to be pursued by the
   5
       Designating Party whose Protected Material may be affected.
   6

   7           If the Designating Party timely seeks a protective order, the Party served with the subpoena

   8   or court order shall not produce any information designated in this action as “CONFIDENTIAL”

   9   or “HIGHLY CONFIDENTIAL” before a determination by the court from which the subpoena or
  10
       order issued, unless the Party has obtained the Designating Party’s permission. The Designating
  11
       Party shall bear the burden and expense of seeking protection in that court of its confidential
  12
       material and nothing in these provisions should be construed as authorizing or encouraging a
  13
       Receiving Party in this Action to disobey a lawful directive from another court.
  14

  15
       9.      A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN THIS
  16
       LITIGATION
  17
               (a)    The terms of this Order are applicable to information produced by a Non-Party in
  18

  19   this Action and designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL.” Such

  20   information produced by Non-Parties in connection with this litigation is protected by the remedies

  21   and relief provided by this Order. Nothing in these provisions should be construed as prohibiting a
  22
       Non-Party from seeking additional protections.
  23
               (b)    In the event that a Party is required, by a valid discovery request, to produce a Non-
  24
       Party’s confidential information in its possession, and the Party is subject to an agreement with the
  25
       Non-Party not to produce the Non-Party’s confidential information, then the Party shall:
  26

  27                  (1)     promptly notify in writing the Requesting Party and the Non-Party that some

  28   or all of the information requested is subject to a confidentiality agreement with a Non-Party;
                                                         13
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   1                  (2)     promptly provide the Non-Party with a copy of the Stipulated Protective
   2   Order in this Action, the relevant discovery request(s), and a reasonably specific description of the
   3
       information requested; and
   4
                      (3)     make the information requested available for inspection by the Non-Party, if
   5
       requested.
   6

   7           (c)    If the Non-Party fails to seek a protective order from this court within 14 days of

   8   receiving the notice and accompanying information, the Receiving Party may produce the Non-

   9   Party’s confidential information responsive to the discovery request. If the Non-Party timely seeks
  10
       a protective order, the Receiving Party shall not produce any information in its possession or control
  11
       that is subject to the confidentiality agreement with the Non-Party before a determination by the
  12
       court. Absent a court order to the contrary, the Non-Party shall bear the burden and expense of
  13
       seeking protection in this court of its Protected Material.
  14

  15
       10.     UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
  16
               If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected
  17
       Material to any person or in any circumstance not authorized under this Stipulated Protective Order,
  18

  19   the Receiving Party must immediately (a) notify in writing the Designating Party of the

  20   unauthorized disclosures, (b) use its best efforts to retrieve all unauthorized copies of the Protected

  21   Material, (c) inform the person or persons to whom unauthorized disclosures were made of all the
  22
       terms of this Order, and (d) request such person or persons to execute the “Acknowledgment and
  23
       Agreement to Be Bound” that is attached hereto as Exhibit A.
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   1   11.     INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED
   2   MATERIAL
   3
               When a Producing Party gives notice to Receiving Parties that certain inadvertently
   4
       produced material is subject to a claim of privilege or other protection, the obligations of the
   5
       Receiving Parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This provision
   6

   7   is not intended to modify whatever procedure may be established in an e-discovery order that

   8   provides for production without prior privilege review. Pursuant to Federal Rule of Evidence 502(d)

   9   and (e), insofar as the parties reach an agreement on the effect of disclosure of a communication or
  10
       information covered by the attorney-client privilege or work product protection, the parties may
  11
       incorporate their agreement in the stipulated protective order submitted to the court.
  12

  13   12.     MISCELLANEOUS
  14           12.1    Right to Further Relief. Nothing in this Order abridges the right of any person to
  15
       seek its modification by the Court in the future.
  16
               12.2    Right to Assert Other Objections. By stipulating to the entry of this Protective Order
  17
       no Party waives any right it otherwise would have to object to disclosing or producing any
  18

  19   information or item on any ground not addressed in this Stipulated Protective Order. Similarly, no

  20   Party waives any right to object on any ground to use in evidence of any of the material covered by

  21   this Protective Order.
  22
               12.3    Filing Protected Material. A Party that seeks to file under seal any Protected Material
  23
       must comply with Civil Local Rule 79-5. Protected Material may only be filed under seal pursuant
  24
       to a court order authorizing the sealing of the specific Protected Material at issue. If a Party's request
  25
       to file Protected Material under seal is denied by the court, then the Receiving Party may file the
  26

  27   information in the public record unless otherwise instructed by the court.

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   1   13.     FINAL DISPOSITION
   2           After the final disposition of this Action, as defined in paragraph 4, within 60 days of a
   3
       written request by the Designating Party, each Receiving Party must return all Protected Material
   4
       to the Producing Party or destroy such material. As used in this subdivision, “all Protected Material”
   5
       includes all copies, abstracts, compilations, summaries, and any other format reproducing or
   6

   7   capturing any of the Protected Material. Whether the Protected Material is returned or destroyed,

   8   the Receiving Party must submit a written certification to the Producing Party (and, if not the same

   9   person or entity, to the Designating Party) by the 60 day deadline that (1) identifies (by category,
  10
       where appropriate) all the Protected Material that was returned or destroyed and (2) affirms that the
  11
       Receiving Party has not retained any copies, abstracts, compilations, summaries or any other format
  12
       reproducing or capturing any of the Protected Material. Notwithstanding this provision, Counsel
  13
       are entitled to retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing
  14

  15   transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert reports, attorney

  16   work product, and consultant and expert work product, even if such materials contain Protected
  17   Material. Any such archival copies that contain or constitute Protected Material remain subject to
  18
       this Protective Order as set forth in Section 4 (DURATION).
  19

  20   14.     Any violation of this Order may be punished by any and all appropriate measures including,

  21   without limitation, contempt proceedings and/or monetary sanctions.
  22

  23
       IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
  24

  25   DATED          April 29, 2021
  26

  27           /s/ R. Eric Gaum
       R. Eric Gaum (pro hac vice)
  28   egaum@taftlaw.com
                                                         16
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  13
       Attorneys for Atlantic Representations, Inc. & Leo Dardashti
  14

  15
       DATED:         April 29, 2021
  16

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  18
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   1   Fax: (860) 286-0115
   2   Attorneys for Atlantic Furniture, Inc. and Mark S. Valone
   3
       FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
   4

   5   DATED:          April 29, 2021
   6

   7
       Honorable Steve Kim, United States Magistrate Judge
   8

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   1                                                  EXHIBIT A
   2                        ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
   3

   4
       I,   __________________________________________                [print   or    type     full   name],   of
   5
       ________________________ [print or type full address], declare under penalty of perjury that I
   6

   7   have read in its entirety and understand the Stipulated Protective Order that was issued by the

   8   United States District Court for the Central District of California on [date] in the case of Atlantic

   9   Representations, Inc. v. Atlantic Furniture, Inc. et al, No. 2:20-cv-11146-SB-SK (C.D.Cal.) . I
  10
       agree to comply with and to be bound by all the terms of this Stipulated Protective Order and I
  11
       understand and acknowledge that failure to so comply could expose me to sanctions and
  12
       punishment in the nature of contempt. I solemnly promise that I will not disclose in any manner
  13
       any information or item that is subject to this Stipulated Protective Order to any person or entity
  14

  15   except in strict compliance with the provisions of this Order. I further agree to submit to the

  16   jurisdiction of the United States District Court for the Central District of California for the purpose
  17   of enforcing the terms of this Stipulated Protective Order, even if such enforcement proceedings
  18
       occur        after   termination   of   this    action.    I   hereby        appoint     _____________
  19
       ________________________ [print or type full name] of _____________________________
  20
       [print or type full address and telephone number] as my California agent for service of process in
  21

  22   connection with this action or any proceedings related to enforcement of this Stipulated Protective

  23   Order.

  24   Date:
  25   City and State where sworn and signed:
  26
       Printed name:
  27
       Signature:
  28



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